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                    UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                  Case No. 2:07-cr-00300-MCE

             Plaintiff,
     v.                                    ORDER FOR RELEASE OF PERSON
                                           IN CUSTODY
OSCAR VILLARREAL,

          Defendant.
___________________________/

TO: THE UNITED STATES MARSHAL SERVICE.

     This    is     to   authorize   and   direct   you   to   release   OSCAR

VILLARREAL, Case No. 2:07-cr-00300, from custody for the following

reasons:

                          Release on Personal Recognizance

                          Bail Posted in the Sum of $

                          Unsecured Appearance Bond

             ____         Appearance Bond with 10% Deposit

                          Appearance Bond with Surety

             ____         Corporate Surety Bail Bond

              X           (Other):

     1. Defendant is released pursuant to the conditions as stated
on the record on May 27, 2010.


     Issued at Sacramento, California on June 1, 2010 at

12:46 p.m.

                                           Dated: June 1, 2010


                                           ____________________________
                                           MORRISON C. ENGLAND, JR.
                                           UNITED STATES DISTRICT JUDGE
